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     Co-Counsel to the Debtors and Debtors in Possession

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

                                                                            )
     In re:                                                                 )     Chapter 11
                                                                            )
     LE TOTE, INC., et al.,1                                                )     Case No. 20-33332 (KLP)
                                                                            )
                                  Debtors.                                  )     (Jointly Administered)
                                                                            )

                                 THIRD MONTHLY FEE
                          APPLICATION OF NFLUENCE PARTNERS
                     AS INVESTMENT BANKER FOR THE DEBTORS FOR
               COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
             PERIOD FROM OCTOBER 1, 2020 TO AND INCLUDING OCTOBER 31, 2020




 1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
        claims and noticing agent at https://cases.stretto.com/letote/. The location of the Debtors’ service address is
        250 Vesey Street, 22nd Floor, New York, New York 10281.
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                                                               HMAdviseCo, LLC d/b/a Nfluence
     Name of Applicant:
                                                               Partners (“Nfluence”)

     Authorized to provide professional services               Le Tote, Inc., et al.
     to:                                                       Debtors and Debtors in Possession

                                                               Order entered on October 22, 2020, retention
     Date of retention:
                                                               as of August 2, 2020

     Period for which compensation and
                                                               October 1, 2020, through October 31, 2020
     reimbursement is sought:

     Amount of compensation sought as actual,                  $25,000.00
     reasonable and necessary:

     Amount of compensation requested
                                                               $0.002
     immediately

     Amount of expense reimbursement sought as
                                                               $0.00
     actual, reasonable, and necessary:

     Type of fee statement or application:                     Monthly Fee Statement3




 2     Pursuant to the Retention Order (as defined herein), the Debtors are authorized to pay the $25,000 Monthly Fee
       to Nfluence each month when requested under the Engagement Letters (as defined herein) without a prior fee
       application

 3     Notice of this Monthly Fee Statement shall be served in accordance with the Interim Compensation Order
       (as defined herein) and objections to payment of the amounts described in this Monthly Fee Statement shall be
       addressed in accordance with the Interim Compensation Order. Accordingly, the Debtors’ payment of such
       Monthly Fees is not reflected in this Monthly Fee Statement (as defined below).


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         Pursuant to sections 327, 330 and 331 of title 11 of the United States Code

 (the “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), the Local Rules of the United States Bankruptcy Court for the Eastern

 District of Virginia (the “Local Rules”), the Order (I) Authorizing the Retention and Employment

 of Nfluence Partners as Investment Banker for the Debtors and Debtors in Possession Effective as

 of August 2, 2020, (II) Modifying Certain Time-Keeping Requirements, and (III) Granting Related

 Relief [Docket No. 474] (the “Retention Order”),4 the Order (I) Establishing Procedures for

 Interim Compensation and Reimbursement of Expenses for Retained Professionals and

 (II) Granting Related Relief, entered September 21, 2020 [Docket No. 189] (the “Interim

 Compensation Order”), Nfluence, investment banker for the Debtor, hereby files this monthly fee

 statement (this “Monthly Fee Statement”) for interim allowance and payment of compensation for

 professional services rendered and reimbursement of expenses incurred for the period from

 September 1, 2020 to and including September 30, 2020 (the “Fee Period”) in the aggregate

 amount of $25,000.00, comprised of: (i) $25,000.00 earned by Nfluence for its professional

 services to the Debtors during the Fee Period, plus (ii) $0.00 of actual and necessary expenses that

 Nfluence incurred during the Fee Period in connection with such services.

                      Itemization of Services Provided and Expenses Incurred

 1. In support this Monthly Fee Statement, attached are the following exhibits:

         Exhibit A is a detailed schedule of the number of hours expended by each Nfluence

 4   The Retention Order approved the terms of that certain engagement letter certain engagement letter between
     Nfluence, BA Securities, LLC (“BA”), and Le Tote Inc., dated as of May 8, 2020 (the “Le Tote Engagement
     Letter”), that certain engagement letter between Nfluence, BA, and Le Tote, dated as of June 16, 2020 (the “Lord
     and Taylor Engagement Letter”), and that certain Amendment to Engagement Agreement, amending the Lord &
     Taylor Engagement Letter, dated as of September 14, 2020 (the “Lord & Taylor Amendment,” and together with
     the Le Tote Engagement Letter and the Lord & Taylor Engagement Letter, the “Engagement Letters”), copies of
     which are attached as Exhibit 1, Exhibit 2, and Exhibit 3 to Exhibit A, respectively, of the Application. All
     capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Retention
     Order.


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          professional who rendered services on behalf of the Debtors during the Fee Period.

         Exhibit B is a summary of fees and expenses incurred by Nfluence during this Fee Period
          in the rendition of the professional services to the Debtors and their estates for which
          reimbursement is sought pursuant to this Monthly Fee Statement.

                                             Representations

 2.   Although every effort has been made to include all fees and expenses incurred in the Fee

      Period, some fees and expenses might not be included in this Monthly Fee Statement due to

      delays caused by accounting and processing during the Fee Period. Nfluence reserves the right

      to make further application to the Court for allowance of such fees and expenses not included

      herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy

      Code, the Bankruptcy Rules, Local Rules, and the Interim Compensation Order.



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    WHEREFORE, Nfluence requests interim allowance and payment of its fees earned and

    expenses incurred during the Fee Period in the total amount of $25,000.00, consisting of

    (i) $25,00.00 earned by Nfluence for its professional services to the Debtors during the Fee

    Period, plus (ii) $0.00 of actual and necessary expenses that Nfluence incurred during the Fee

    Period in connection with such services, and that such fees and expense be paid as

    administrative expenses of the Debtors’ estates.



 Dated: November 30, 2020                     NFLUENCE Partners

                                              /s/ Gary Moon
                                              Gary Moon
                                              Managing Partner
                                              Nfluence Partners




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                                       Exhibit A

                         Summary of Hours by Professional
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                            Summary of Hours
  Month      Gary Moon     Monica Mariani  Gaurav Giatonde        Peter Lindae
 10/1/2020       6.0            6.5              5.5                   4.5
 10/2/2020       2.0            1.5              0.0                   3.0
 10/3/2020       0.0            0.0              0.0                   0.0
 10/4/2020       0.0            0.0              0.0                   0.0
 10/5/2020       4.5            4.0              0.5                   1.5
 10/6/2020       3.8            1.5              4.5                   2.0
 10/7/2020       4.0            4.5              1.0                   2.0
 10/8/2020       4.5            3.0              3.0                   2.5
 10/9/2020       2.5            0.5              1.5                   3.0
10/10/2020       1.5            0.5              0.5                   4.0
10/11/2020       0.5            6.0              1.0                   3.0
10/12/2020       7.0            6.5              4.0                   5.0
10/13/2020       4.0            1.0              0.5                   3.0
10/14/2020       4.5            0.5              1.0                   3.0
10/15/2020      14.0           14.0             14.0                   1.5
10/16/2020      2.0             0.5              0.5                   0.5
10/17/2020      0.0             0.0              0.0                   0.0
10/18/2020      0.0             0.0              0.0                   0.0
10/19/2020      1.0             0.0              1.5                   1.0
10/20/2020      2.0             0.5              1.0                   0.5
10/21/2020      3.5             0.5              1.0                   0.5
10/22/2020      0.0             0.5              0.0                   0.5
10/23/2020      0.0             0.5              0.0                   0.0
10/24/2020      0.0             0.0              0.0                   0.0
10/25/2020      0.0             0.0              0.0                   0.0
10/26/2020      1.0             0.0              0.5                   0.0
10/27/2020      4.5             0.5              1.5                   0.5
10/28/2020      0.0             0.0              0.0                   0.0
10/29/2020      3.5             0.0              0.5                   0.0
10/30/2020      0.5             0.0              0.0                   0.0
10/31/2020      0.0             0.0              0.0                   0.0
   Total        76.8            53.0            43.5                  41.5
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                                     Exhibit B

                    Summary of Actual and Necessary Expenses
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                                                  Summary of Hours Worked - Total
   DATE     HOURS                           DESRCIPTION
10/1/2020   1.0 hour(s)   Gary Moon         Meeting Prep
10/1/2020   0.5 hour(s)   Gary Moon         Internal sync call
10/1/2020   0.5 hour(s)   Gary Moon         Legacy Internal Sync
10/1/2020   1.0 hour(s)   Gary Moon         LeTote and Lord & Taylor Standing BOD Meeting
10/1/2020   0.5 hour(s)   Gary Moon         Call Solitaire Partners
10/1/2020   1.5 hour(s)   Gary Moon         Messages to Solitarie Partners, Hilco Global, Kirkland, client, Vin Lee
10/1/2020   1.0 hour(s)   Gary Moon         Call David Peress
10/1/2020   0.5 hour(s)   Monica Mariani    Internal sync call
10/1/2020   1.0 hour(s)   Monica Mariani    Call with Solitaire and Management on DD Follow-ups
10/1/2020   1.0 hour(s)   Monica Mariani    BOD material preparation (chasing data, clarifying, process update, etc.)
10/1/2020   1.0 hour(s)   Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
10/1/2020   1.0 hour(s)   Monica Mariani    Several Calls with Zar
10/1/2020   0.5 hour(s)   Monica Mariani    Prep Management for Zar Call and follow-ups
10/1/2020   1.5 hour(s)   Monica Mariani    Zar follow-ups
10/1/2020   0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
10/1/2020   1.0 hour(s)   Gaurav Gaitonde   Nfluence and Le Tote financial model discussion
10/1/2020   2.0 hour(s)   Gaurav Gaitonde   Le Tote financial model updates
10/1/2020   1.0 hour(s)   Gaurav Gaitonde   LeTote and Lord & Taylor Standing BOD Meeting
10/1/2020   1.0 hour(s)   Gaurav Gaitonde   Calls and diligence work with Solitaire
10/1/2020   2.0 hour(s)   Peter Lindae      Bid Tracking and Process Update Preparation
10/1/2020   0.5 hour(s)   Peter Lindae      Legacy Process Internal Sync
10/1/2020   0.5 hour(s)   Peter Lindae      Internal Sync Call
10/1/2020   1.0 hour(s)   Peter Lindae      Preparation of DD responses to Grand Metropolitan
10/1/2020   0.5 hour(s)   Peter Lindae      Preparation of DD responses to Zar Group
10/2/2020   0.5 hour(s)   Gary Moon         Call with Zar Group and Management on DD
10/2/2020   1.5 hour(s)   Gary Moon         Messages to Client, Kirkland, Zar Group, Vin Lee
10/2/2020   0.5 hour(s)   Monica Mariani    Call with Zar Group and Management on DD
10/2/2020   1.0 hour(s)   Monica Mariani    Several Calls with Zar
10/2/2020   1.0 hour(s)   Peter Lindae      Diligence Request Material Preparation
10/2/2020   2.0 hour(s)   Peter Lindae      Process Tracking Management
10/5/2020   1.0 hour(s)   Gary Moon         Meeting Prep
10/5/2020   1.5 hour(s)   Gary Moon         Messages to Kirkland, BDO, Taylor Stitch, client
10/5/2020   0.5 hour(s)   Gary Moon         Call with Zar Group General Transaction Matters
10/5/2020   0.5 hour(s)   Gary Moon         Call with TaylorStich General Transaction Matters
10/5/2020   1.0 hour(s)   Gary Moon         Messages to Zar Group, Kirkland,
10/5/2020   0.5 hour(s)   Monica Mariani    Call with Zar Group General Transaction Matters
10/5/2020   0.5 hour(s)   Monica Mariani    Call with TaylorStich General Transaction Matters
10/5/2020   2.0 hour(s)   Monica Mariani    Several Calls with Zar
10/5/2020   1.0 hour(s)   Monica Mariani    BOD material preparation (chasing data, clarifying, process update, etc.)
10/5/2020   0.5 hour(s)   Gaurav Gaitonde   Call with Mason
10/5/2020   1.5 hour(s)   Peter Lindae      Bid / Process Tracking Update
10/6/2020   0.8 hour(s)   Gary Moon         Meeting Prep
10/6/2020   1.0 hour(s)   Gary Moon         LeTote and Lord & Taylor Standing BOD Meeting
10/6/2020   0.5 hour(s)   Gary Moon         Internal sync call
10/6/2020   1.5 hour(s)   Gary Moon         Messages to Zar Group, Kirkland, Harry and Rajeev, Solitaire, Taylor Stitch
10/6/2020   1.0 hour(s)   Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
10/6/2020   0.5 hour(s)   Monica Mariani    Internal sync call
10/6/2020   1.0 hour(s)   Gaurav Gaitonde   Le Tote Board Meeting
10/6/2020   0.5 hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
10/6/2020   0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
10/6/2020   2.0 hour(s)   Gaurav Gaitonde   Call and diligence work for Solitaire
10/6/2020   0.5 hour(s)   Gaurav Gaitonde   Diligence work for Mason
10/6/2020   0.5 hour(s)   Peter Lindae      Internal Sync Call
10/6/2020   1.5 hour(s)   Peter Lindae      Bid / Process Tracking and Bid Update Preparation
10/7/2020   1.0 hour(s)   Gary Moon         Material Review
10/7/2020   0.5 hour(s)   Gary Moon         Call with TaylorStich and Management DD Follow-ups
10/7/2020   0.5 hour(s)   Gary Moon         Call with Solitarie Partners
10/7/2020   0.5 hour(s)   Gary Moon         Call Le Tote | BDO Weekly
10/7/2020   1.5 hour(s)   Gary Moon         Messages to Hilco Global, Vin Lee, Solitaire, Taylor Stitch, client. Kirkland
10/7/2020   0.5 hour(s)   Monica Mariani    Call with TaylorStich and Management DD Follow-ups
10/7/2020   2.0 hour(s)   Monica Mariani    TaylorStich follow-ups
10/7/2020   1.0 hour(s)   Monica Mariani    Several Calls with Zar
10/7/2020   1.0 hour(s)   Monica Mariani    Call to Prep Management on Call and put together DD materials
10/7/2020   0.5 hour(s)   Gaurav Gaitonde   Call with Solitaire
10/7/2020   0.5 hour(s)   Gaurav Gaitonde   Messaging with Taylor Stitch, Solitaire
10/7/2020   2.0 hour(s)   Peter Lindae      Saadia / Solitaire Side-by-Side Review Preparation
10/8/2020   1.0 hour(s)   Gary Moon         Meeting Prep
10/8/2020   0.5 hour(s)   Gary Moon         Call with Hilco Global
10/8/2020   0.5 hour(s)   Gary Moon         Internal sync call
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                                                     Summary of Hours Worked - Total
   DATE      HOURS                             DESRCIPTION
10/8/2020    1.0 hour(s)     Gary Moon         LeTote and Lord & Taylor Standing BOD Meeting
10/8/2020    1.5 hour(s)     Gary Moon         Messages to Kirkland, Client, Harry & Rajeev, Solitaire, Saadia
10/8/2020    0.5 hour(s)     Monica Mariani    Call with Zar Group and Management on DD
10/8/2020    0.5 hour(s)     Monica Mariani    Internal sync call
10/8/2020    1.0 hour(s)     Monica Mariani    BOD material preparation (chasing data, clarifying, process update, etc.)
10/8/2020    1.0 hour(s)     Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
10/8/2020    0.5 hour(s)     Gaurav Gaitonde   Internal Nfluence sync on deal
10/8/2020    1.0 hour(s)     Gaurav Gaitonde   Bid procedures summary for AK Growth and others
10/8/2020    1.0 hour(s)     Gaurav Gaitonde   LeTote and Lord & Taylor Standing BOD Meeting
10/8/2020    0.5 hour(s)     Gaurav Gaitonde   Diligence work for Hilco
10/8/2020    1.5 hour(s)     Peter Lindae      Bid / Process Tracking and Bid Update Preparation
10/8/2020    0.5 hour(s)     Peter Lindae      Intenal Sync Call
10/8/2020    0.5 hour(s)     Peter Lindae      Auction Attendee List Preparation
10/9/2020    0.5 hour(s)     Gary Moon         Call with Lawyers and Management on Auction Procedures
10/9/2020    1.5 hour(s)     Gary Moon         Messages to Kirkland, Solitaire, Rajeev and Harry, Vin Lee, Client
10/9/2020    0.5 hour(s)     Gary Moon         Call with LT
10/9/2020    0.5 hour(s)     Monica Mariani    Call with Lawyers and Management on Auction Procedures
10/9/2020    0.5 hour(s)     Gaurav Gaitonde   Internal call on Auction Procedures
10/9/2020    0.5 hour(s)     Gaurav Gaitonde   Messaging with AK Growth, Icarus, Q Partners
10/9/2020    0.5 hour(s)     Gaurav Gaitonde   Dilgence work for Solitaire
10/9/2020    1.0 hour(s)     Peter Lindae      Diligence Requests for Grand Metropolitan
10/9/2020    2.0 hour(s)     Peter Lindae      Prospective Bidder Tracking and Comparison Preparataion
10/10/2020   1.5 hour(s)     Gary Moon         Messages to Solitaire, Hilco Global, Kirkland, Client, Vin Lee, Rajeev and Harry
10/10/2020   0.5 hour(s)     Monica Mariani    Call with Branded on DD walk-through
10/10/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Branded Online
10/10/2020   1.5 hour(s)     Peter Lindae      Bidder Comparison Tracking and Process Updates
10/10/2020   0.5 hour(s)     Peter Lindae      Internal call to Discuss General Transaction Matters
10/10/2020   2.0 hour(s)     Peter Lindae      SPAC Market Intelligence Requests
10/11/2020   0.5 hour(s)     Gary Moon         Messages to Bob Duffy
10/11/2020   1.0 hour(s)     Monica Mariani    Call with Branded on DD
10/11/2020   3.0 hour(s)     Monica Mariani    Gathering additional DD materials for Branded
10/11/2020   0.5 hour(s)     Monica Mariani    Call with various members of Management to get materials on Branded DD follow-ups
10/11/2020   0.5 hour(s)     Monica Mariani    Intro Call with Blumberg
10/11/2020   1.0 hour(s)     Monica Mariani    Blumberg/Icarus follow-ups
10/11/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Icarus Capital
10/11/2020   0.5 hour(s)     Gaurav Gaitonde   Diligence work for Taylor Stitch
10/11/2020   1.0 hour(s)     Peter Lindae      Blumberg/Icarus follow-ups
10/11/2020   1.5 hour(s)     Peter Lindae      Bidder Comparison Tracking and Process Updates
10/11/2020   0.5 hour(s)     Peter Lindae      Updates for Stretto Notice
10/12/2020   1.0 hour(s)     Gary Moon         Meeting Prep
10/12/2020   1.0 hour(s)     Gary Moon         Call Le Tote - Prospective Bidders- and Auction
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Auction Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Saadia Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Solitaire Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on TaylorStich Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Branded Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Icarus Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Hilco Procedures
10/12/2020   1.5 hour(s)     Gary Moon         Messages to Solitaire, Hilco Global, Kirkland, Client, Vin Lee, Rajeev and Harry, Branded Online,
                                               saadia
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Lawyers and Management on Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with AK Growth on Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Saadia on Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Solitaire on Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with TaylorStich on Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Gather additional DD for TaylorStich
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Branded Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Icarus Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Hilco Auction Procedures
10/12/2020   1.0   hour(s)   Monica Mariani    Multiple exchanges/interactions scheduling all the above calls
10/12/2020   1.0   hour(s)   Monica Mariani    Several Calls with Zar
10/12/2020   1.0   hour(s)   Gaurav Gaitonde   Internal call to discuss auction
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with AK Growth
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Solitaire
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Taylor Stitch
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Branded Online
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Icarus Capital
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Hilco Global
10/12/2020   1.0   hour(s)   Peter Lindae      Diligence Request Material Preparation
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                                                    Summary of Hours Worked - Total
   DATE      HOURS                            DESRCIPTION
10/12/2020    1.0 hour(s)   Peter Lindae      Call with Lawyers and Management on Auction Procedures
10/12/2020    1.5 hour(s)   Peter Lindae      Internal Auction Preparation
10/12/2020    1.5 hour(s)   Peter Lindae      Bid / Process Tracking and Bid Update Preparation
10/13/2020    1.0 hour(s)   Gary Moon         Material Review
10/13/2020    0.5 hour(s)   Gary Moon         Le Tote Deposits
10/13/2020    0.5 hour(s)   Gary Moon         Internal sync call
10/13/2020    0.5 hour(s)   Gary Moon         Call Le Tote | Solitaire
10/13/2020    1.5 hour(s)   Gary Moon         Messages to Kirkland, Bob Duffy, Hilco global, Harry & Rajeev
10/13/2020    0.5 hour(s)   Monica Mariani    Call with Zar on General Transaction Matters
10/13/2020    0.5 hour(s)   Monica Mariani    Internal sync call
10/13/2020    0.5 hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
10/13/2020    0.5 hour(s)   Peter Lindae      Interal Sync Call
10/13/2020    2.0 hour(s)   Peter Lindae      Bid / Process Tracking and Bid Update Preparation
10/13/2020    0.5 hour(s)   Peter Lindae      Auction Attendee List Preparation
10/14/2020    1.0 hour(s)   Gary Moon         Material Review
10/14/2020    0.5 hour(s)   Gary Moon         Call L&T/Icarus
10/14/2020    0.5 hour(s)   Gary Moon         Call Le Tote Deposits
10/14/2020    0.5 hour(s)   Gary Moon         Call Le Tote
10/14/2020    0.5 hour(s)   Gary Moon         Call LT Nfluence Retention
10/14/2020    1.5 hour(s)   Gary Moon         Messages to Client, Hilco Global, Kirkland, BDO, Solitaire
10/14/2020    0.5 hour(s)   Monica Mariani    Call with Lawyers and Management on Auction Procedures
10/14/2020    0.5 hour(s)   Gaurav Gaitonde   Internal call on deposits
10/14/2020    0.5 hour(s)   Gaurav Gaitonde   Call with Icarus Capital
10/14/2020    3.0 hour(s)   Peter Lindae      Bid Comparisons and Process Tracking Update
10/15/2020   14.0 hour(s)   Gary Moon         Auction
10/15/2020   14.0 hour(s)   Monica Mariani    Auction
10/15/2020   14.0 hour(s)   Gaurav Gaitonde   Auction
10/15/2020    1.5 hour(s)   Peter Lindae      Internal Auction Materials Preparation
10/16/2020    1.0 hour(s)   Gary Moon         Meeting Prep
10/16/2020    0.5 hour(s)   Gary Moon         Le Tote Board Meeting
10/16/2020    0.5 hour(s)   Gary Moon         Messages to Solitaire
10/16/2020    0.5 hour(s)   Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
10/16/2020    0.5 hour(s)   Gaurav Gaitonde   Le Tote Board Meeting
10/16/2020    0.5 hour(s)   Peter Lindae      Post-Auction Review
10/19/2020    1.0 hour(s)   Gary Moon         Messages to Kirkland, Vin Lee
10/19/2020    0.5 hour(s)   Gaurav Gaitonde   Call with Mason
10/19/2020    1.0 hour(s)   Gaurav Gaitonde   Diligence work for Saadia
10/19/2020    1.0 hour(s)   Peter Lindae      Process Milestone to KE
10/20/2020    1.0 hour(s)   Gary Moon         Material Review
10/20/2020    0.5 hour(s)   Gary Moon         Call Internal Sync
10/20/2020    0.5 hour(s)   Gary Moon         Messages to Kirkland
10/20/2020    0.5 hour(s)   Monica Mariani    Call Internal Sync
10/20/2020    0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
10/20/2020    0.5 hour(s)   Gaurav Gaitonde   Diligence work for Saadia
10/20/2020    0.5 hour(s)   Peter Lindae      Interal Sync Call
10/21/2020    0.5 hour(s)   Gary Moon         Call Internal Sync
10/21/2020    1.0 hour(s)   Gary Moon         Meeting Prep
10/21/2020    1.0 hour(s)   Gary Moon         Le Tote Board Call
10/21/2020    0.5 hour(s)   Gary Moon         Messages to BDO
10/21/2020    0.5 hour(s)   Gary Moon         Call with Ed
10/21/2020    0.5 hour(s)   Monica Mariani    Call Internal Sync
10/21/2020    0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
10/21/2020    0.5 hour(s)   Gaurav Gaitonde   Le Tote Board Meeting
10/21/2020    0.5 hour(s)   Peter Lindae      Interal Sync Call
10/22/2020    0.5 hour(s)   Monica Mariani    Internal sync call
10/22/2020    0.5 hour(s)   Peter Lindae      Interal Sync Call
10/23/2020    0.5 hour(s)   Monica Mariani    Call with Ed
10/26/2020    0.5 hour(s)   Gary Moon         Call Le Tote
10/26/2020    0.5 hour(s)   Gary Moon         Messages to Saadia
10/26/2020    0.5 hour(s)   Gaurav Gaitonde   Call with Le Tote Management
10/27/2020    1.0 hour(s)   Gary Moon         Material Review
10/27/2020    0.5 hour(s)   Gary Moon         Le Tote/WF/Carlyle - Weekly
10/27/2020    2.0 hour(s)   Gary Moon         Creating Timesheet for September/October
10/27/2020    0.5 hour(s)   Gary Moon         Messages to Zar
10/27/2020    0.5 hour(s)   Gary Moon         Call Internal Sync
10/27/2020    0.5 hour(s)   Monica Mariani    Call Internal Sync
10/27/2020    0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
10/27/2020    1.0 hour(s)   Gaurav Gaitonde   Call with Le Tote Management and Saadia
10/27/2020    0.5 hour(s)   Peter Lindae      Interal Sync Call
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                                                   Summary of Hours Worked - Total
   DATE      HOURS                           DESRCIPTION
10/29/2020   1.0 hour(s)   Gary Moon         Material Review
10/29/2020   0.5 hour(s)   Gary Moon         Messages to Kirkland
10/29/2020   1.5 hour(s)   Gary Moon         Editing timesheet with phone calls
10/29/2020   0.5 hour(s)   Gary Moon         Call Internal Sync
10/29/2020   0.5 hour(s)   Gaurav Gaitonde   Diligence work for Saadia
10/30/2020   0.5 hour(s)   Gary Moon         Messages to Client
